                                                                         CLERK'S OFFICE U.S. DIST. COURT
                                                                                  AT ROANOKE, VA
                                                                                      FILED

                       IN THE UNITED STATES DISTRICT COURT                        NOV O8 2019
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                DANVILLE DIVISION                             J~
                                                                             BY: . L ,I~ L E.
                                                                              ,     EPUTYC E K

    UNITED STATES OF AMERICA                )
                                            )
                                            )      Case No.: 4:18-cr-00011
    v.                                      )
                                            )
                                            )
    MARCUS JAY DAVIS,                       )
                                            )      By:   Michael F. Urbanski
           Defendant.                       )      Chief United States District Judge


                                           ORDER

           For the reasons stated in the accompanying Memorandum Opinion, defendant Davis's

    Motion to Dismiss the First Superseding Indictment, ECF No. 1064, is GRANTED in part

    as it pertains to dismissing Count Ten of the First Superseding Indictment and DENIED in

    part as it pertains to dismissing Counts One, Eleven, Twelve, and Thirteen of the First

    Superseding Indictment. Further, Michael Newman is DISMISSED as counsel of record for

    the United States in this case.



           It is so ORDERED.



                                            Entered:




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